        Case 3:18-cr-00038-HDM-WGC Document 82 Filed 01/12/21 Page 1 of 4




 1   RENE L. VALLADARES
     Federal Public Defender
 2   State Bar No. 11479
     SYLVIA IRVIN
 3   Assistant Federal Public Defender
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 4   Assistant Federal Public Defender
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 8   Attorneys for ERIC MCCARTT

 9                                UNITED STATES DISTRICT COURT

10                                      DISTRICT OF NEVADA

11
     UNITED STATES OF AMERICA,                                Case No. 3:18-CR-038-HDM-WGC
12
                     Plaintiff,                                    ORDER GRANTING
13                                                             STIPULATION TO CONTINUE
              v.                                                 SENTENCING HEARING
14                                                                 (TWELTH REQUEST)
     ERIC MCCARTT,
15
                     Defendant.
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18            It is stipulated and agreed to by Federal Public Defender Rene L. Valladares and
19   Assistant Federal Public Defenders Sylvia Irvin and Katherine Tanaka, counsel for Eric
20   McCartt, and Trial Attorney for the U.S. Department of Justice Charles Schmitz, counsel for
21   the United States of America, that the Sentencing Hearing currently scheduled on January 26,
22   2021, be vacated and continued to March 16, 2021, or to a later date that is convenient to this
23   Court.
24            This Stipulation is entered into for the following reasons:
25            1.     This is a joint request by counsel for the Government and counsel for Defendant
26   McCartt.
        Case 3:18-cr-00038-HDM-WGC Document 82 Filed 01/12/21 Page 2 of 4




 1          2.      The additional time requested by this Stipulation is reasonable pursuant to
 2   Federal Rule of Criminal Procedure 32(b)(2), which states that the “court may, for good cause,
 3   change any time limits prescribed in this rule.”
 4          3.      Both counsel previously sought continuances to allow defense counsel to review
 5   former Sgt. Carry’s personnel file, which is more than 900 pages, and which under the
 6   protective order, required an in-person review at the U.S. Attorney’s office. ECF Nos. 63, 65.
 7          4.      Recent stay-at-home orders, travel restrictions, and social distancing strictures
 8   related to COVID-19 hampered defense counsels’ ability to review former Sgt. Carry’s
 9   personnel file under the conditions set forth in the protective order. After defense counsel
10   reviewed these documents, counsel needed time to discuss with the defendant.
11          5.      Counsel also asked for additional time to allow the Government to confirm the
12   restitution amount and any other applicable restitution information. Since the last request, both
13   counsel have worked diligently on this issue, but there are still restitution issues that need to be
14   finalized.
15          6.      One other substantive matter in preparation for sentencing has arisen. In light
16   of the minimum mandatory sentence, the significant guidelines, the government’s sentence
17   recommendation, and the potential sentence that may be imposed, defense counsel wants to
18   ensure that she has done all she can in order to ensure that she is providing McCartt effective
19   assistance of counsel in preparation for the sentencing hearing. Defense counsel asks for a
20   continuance of the sentencing hearing to resolve this substantive matter before sentencing.
21          7.      The defendant is in custody and agrees with the need for the continuance.
22          8.      The parties agree to the continuance.
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     Case 3:18-cr-00038-HDM-WGC Document 82 Filed 01/12/21 Page 3 of 4




 1       This is the twelfth request for a continuance of the sentencing hearing.
 2       DATED this 12th day of January, 2021.
 3      RENE L. VALLADARES                               STEVEN J. GROCKI
        Federal Public Defender                          Chief, CEOS Section,
 4                                                       Criminal Division

 5   By: /s/ Sylvia Irvin                  .          By: /s/ Charles Schmitz          .
         SYLVIA IRVIN                                     CHARLES SCHMITZ
 6       Assistant Federal Public Defender                U.S. Department of Justice
         Counsel for ERIC MCCARTT                         Counsel for the Government
 7
     By: /s/ Katherine Tanaka             .
 8       KATHERINE TANAKA
         Assistant Federal Public Defender
 9       Counsel for ERIC MCCARTT
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       Case 3:18-cr-00038-HDM-WGC Document 82 Filed 01/12/21 Page 4 of 4




 1                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 2
 3   UNITED STATES OF AMERICA,                         Case No. 3:18-CR-038-HDM-WGC
 4                 Plaintiff,                          ORDER
 5          v.
 6   ERIC MCCARTT,
 7                 Defendant.
 8
 9
            Based on the pending Stipulation of counsel, and good cause appearing,
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     IT IS THEREFORE ORDERED that the Sentencing Hearing currently scheduled for
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     January 26, 2021, at 12:00 PM., be vacated and continued to March 16, 2021, at 11:00 AM in
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     Reno Courtroom 4 before Judge Howard D. McKibben. IT IS SO ORDERED.
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            DATED this 12th day of January, 2021.
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16                                              UNITED STATES DISTRICT JUDGE
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